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57 Warden Sec Offica, File Cabinet

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96 Training Office / Paula Hentges
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448 Office Depot Box

149 (3) Capt Taylor's Office File Cabinet
450 (1)Capt Taylor's Office Top Cabinet
151 (Z)Capt Taylor's Office Top Cabinet
452 (4) Capt Taylor's Office File Cabinet

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3 (6) Capt Taylor's Office File Cabinet
4 (5) Capt Taylors Office File Cabinet

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458 Onsite box (unknown)
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159 Warden Office File Room
489 (8) Old Employes Files
160 (5) Old Employes Files
461 (8) Oki Employee Files
162 Warden Office File Room
463 Warden Office File Room
464 Unknown

465 (4)IAD Investigative Reports
466 Onsite box (unknown)
187 Wardan Office File Raom
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. 189 (2) Old Employee Files

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" 472 (3) 2005 & 2006 Old Employee Files

173 (1) 2005 & 2006 Old Employee Files
174 (4) Old Employes Files

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476 Greivance Jan/Mar
177 Greivance Apr/Dec

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' 480 2004 ©

181 Inmate Greivances 5/01/05 thur 08/30/05

162 Inmate Greivances 7/04/05 thur 10/07/05

483 inmate Greivances 10/01/05 thur 12/30/05

184 inmate Grelvances 04/04/05 thur 09/10/05

185 2002 Post Assignments Inmate Greivances

486 Radio Communications/Safety/Santation inspection
487 2001 inmates Greivanoe Report 1/01 thur 10/10/04
488 (2) Secretary of A

189 (1) Secretary of IA

490 2003 Inmate Greivance Reparts 01/03 thur 07/03
191 IAD Gapt Office, Fils cabinet behind desk

. 192 1AD Capt Office, Fila cabinet behind desk

193 6/1/2002, 2/29/2004, 3/3/2004, 3/6/2004, 7/15/2004

104 1A, Use of Force

495 JAD Investigative Reports

196 |AD Investigative Reports

{97 IAD Investigative Reports
198 Capt Taylors Offiee top cabinet
199 personnel files and training memos

> 200 miscellaneous cassette tepes and disks

2003 (Inmate Grelvances Oct-Nov)(Personal Hygiene var

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30. [71/2006 1035] 7/22/2006 0807
30 1030) 7/22/2008 O856] :

7/24/2006
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See following list of Boxes containing documents and videos seized by the Department of
Justice that Harenski searched and then tabbed documents/objects to be copied and produced by
Defendant.

DOCUMENTS:
Box#
10 09/30/05 thru 10/05/05 Shift Paperwork
17 11/06/05 thru 11/10/05 Shift Paperwork
23 09/05/05 thru 09/09/05 Shift Paperwork
24 08/29/05 thru 09/04/05 Shift Paperwork
64 05/25/05 thru 05/29/05 Shift Paperwork
116 (Taylor) Capt. Gaston’s Office File Cabinet Drawer 5
119 (3) IAD Investigative Reports ” Inv. Office Drawer 3
146 = 06/17/06 thru 06/27/06 Shift Paperwork
165 = (1) IAD Investigative Reports Inv. Office Drawer 2
181 Inmate Grievances 05/01/05 thru 06/30/05 Capt. Taylor’s office
182 Inmate Grievances 07/01/05 thru 10/07/05 Capt. Taylor’s office
183 Inmate Grievances 10/01/05 thru 12/30/05 Capt. Taylor’s office
194 JA, Use of Force
195 IAD Investigative Reports Drawer 4
196 IAD Investigative Reports- Drawer 4
197 IAD Investigative Reports - Desk

200 Miscellaneous cassette tapes and disks
VIDEOS:

Box# Start Date Start Time End Date End Time #(if any)
16 05/25/2005 0810
20 08/31/2005 1025

21 10/04/2005 0830 10/05/2005 1351 1
22 11/05/2005 1408 11/06/2005 1435
22 11/05/2005 1408 11/06/2005 = 1438
22 11/07/2005 = 1105 11/08/2005 0935

30 06/15/2006 0729 06/16/2006 = 1713 2
